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                                                         O'Melveny & Myers LLP

                                                                 Locate Report on:


                                            RAHUL SWAMINATHAN
                                                          Prepared on March 23, 2023




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Subject Information

RAHUL SWAMINATHAN                    752-67-XXXX                06/XX/1990       AGE: 32

Alias(es)                            Reported Current Address:
RAHUL SWAMINATHAN                    1 INDUSTRIAL PARK DR UNIT 9, PELHAM, NH, 03076
                                     (HILLSBOROUGH) (04/18/2017-03/01/2023)
SSN(s)                               Bankruptcies: None Found
752-67-XXXX                          Motor Vehicles: None Found
                                     Properties: None Found
DOB(s)
                                     Employment: Yes
06/XX/1990 (32)
                                     Liens: None Found
                                     Judgments: None Found
                                     Foreclosures: None Found
                                     Possible Criminal/Infractions: None Found
                                     Business Affiliations: Yes
                                     Professional License: None Found




                                                                                           2
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Report Summary

Address Summary                  ................................................................................................... 6 Found
Phones                           ................................................................................................... 1 Found
Emails                           ................................................................................................... 1 Found
IP Addresses                     ................................................................................................... None Found
Possible Employers               ................................................................................................... 4 Found
Deceased Report                  ................................................................................................... None Found
Bankruptcies                     ................................................................................................... None Found
Properties                       ................................................................................................... None Found
Motor Vehicles                   ................................................................................................... None Found
Aircraft                         ................................................................................................... None Found
Likely Relatives                 ................................................................................................... None Found
Likely Associates                ................................................................................................... None Found




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Address Summary                                                                   6 Found

1 INDUSTRIAL PARK DR UNIT 9, PELHAM, NH 03076    (HILLSBOROUGH)    (04/18/2017-Current)
5 LEWIS CIR, WILMINGTON, DE 19804                (NEW CASTLE)      (10/24/2019)
170 SAINT GERMAIN AVE, SAN FRANCISCO, CA 94114   (SAN FRANCISCO)   (12/02/2014)
340 S LEMON AVE, WALNUT, CA 91789                (LOS ANGELES)     (12/01/2014-01/01/2023)
340 FOOTHILL E, CLAREMONT, CA 91711              (LOS ANGELES)     (09/01/2008-12/31/2008)
301 PLATT BLVD, CLAREMONT, CA 91711              (LOS ANGELES)     (08/01/2008-12/31/2008)




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Phones                                                                             1 Found

Phone                    Type        Last Seen        Provider
702-527-2485             Cellular    01/18/2023       BANDWIDTH.COM - NV




                                                                                             5
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Emails                                                                         1 Found

Possible Emails:                                                               Last Seen:
2Z8ZS06DS51S7Y4@MARKETPLACE.AMAZON.COM                                         06/05/2017




                                                                                            6
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IP Addresses                                                                  None Found

Possible Employers                                                                4 Found


Name:                                         RAHUL SWAMINATHAN
Possible Place of Employment (POE):           ASSOCIATED STUDENTS OF HARVEY
Employer State:                               CA
Most Recent Source Date:                      08/08/2022
Title:                                        OWNER

Name:                                         RAHUL SWAMINATHAN
Possible Place of Employment (POE):           HARVEY MUDD COLLEGE
Employer State:                               CA
Most Recent Source Date:                      01/16/2020
Title:                                        STUDENT

Name:                                         RAHUL SWAMINATHAN
Possible Place of Employment (POE):           PIFFERT INC
Employer State:                               DE
Most Recent Source Date:                      12/26/2014
Title:                                        DIRECTOR

Name:                                         RAHUL SWAMINATHAN
Possible Place of Employment (POE):           PIFFERT INC
Employer State:                               DE
Most Recent Source Date:                      12/26/2014
Title:                                        PRESIDENT




                                                                                            7
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Deceased Report                                                                None Found

Bankruptcies                                                                   None Found

Properties                                                                     None Found

Motor Vehicles                                                                 None Found

Aircraft                                                                       None Found


Likely Relatives                                                               None Found

Relative Information:        Possible Phones:      Phone Type:    Last Seen:       Provider:




                                                                                               8
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Likely Associates                                                             None Found

Associate Information:       Possible Phones:     Phone Type:    Last Seen:       Provider:




                                                                                              9
